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January 17, 2023
Dear Mr. Webb,

We are preparing to publish our story about Globe, AIL, Arias Agencies and Mr. Russin and |
have a few additional questions. Kindly respond by Friday morning, Jan. 20 so that | can include
your remarks.

1. Status of Michael Russin
1. Mr. Russin says in his answer to Renee Zinsky’s second amended complaint that
he was not terminated by AIL; rather, he said, the two had “mutually parted
ways.”

i. This contradicts court filings by Zinsky, in which her lawyer said that
investigator Janet Hendrick represented on or about Feb 2, 2022 that the
sexual harassment and/or assault claims were substantiated and that
after that, AIL took “remedial action” including terminating Russin.

ii. It also contradicts what | understand to be Russin’s deposition testimony
on Jan. 16, 2023. Ms. Zinsky’s lawyer, Amy Williamson, told me that Mr.
Russin testified that Simon Arias came to visit him in Maine in late
Jan/early Feb of 2021 and got on a telephone call that included Russin,
Globe attorney Logan Blackmore, AIL’s Debbie Gamble of HR and
investigator Janet Hendricks. Williamson told me Russin’s testimony was
that he was told his values were not in line with theirs and that he was
terminated.

1. Could you clarify these contradictory assertions? Was Russin
fired? Were Zinsky’s sexual harassment claims substantiated by
the investigation? Why did Russin’s answer say that he and AIL
had “mutually parted ways?”

2. Was his firing related to Zinsky’s allegations, as Williamson asserts
she was told by AIL.?

3. Does Mr. Russin work for Globe, AIL or Arias Agencies today?

iii. Williamson says that in the Jan. 16 testimony, Russin said that he is doing
recruiting work for entry level insurance agents and that over half his
work is for AIL agents. He said he continues to work out of the AIL/Arias
office in Portland, Maine. Do you know how this came to be, given that
AlL terminated him?

iv. In an amended complaint, filed November 1, 2022, Zinsky alleged that
Russin “continues to participate in meetings, internal communications,
and other work events both in person and virtually” for Arias agencies. Is
this accurate?

v. Last week, Michael Russin appeared in daily prerecorded webinars
(webinarjam.com) against a background that contained the AIL and Arias

Agencies logos. He was soliciting recruits for Arias and AIL. He introduced

EXHIBIT

 
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himself as a “vice president with Arias and Globe Life” and said that he
has opened offices for AIL/Arias in Maine, Pennsylvania, Florida, New
Hampshire and Vermont.

a. Is Mr. Russin aware that this video is being used?

2. | will be mentioning an incident that occurred in the Wexford office in which one
Arias agent threw another through a door that wound up coming off its hinges.
They apparently had a dispute after one of the two took food from the other’s
lunch plate. One of my sources said that she and other members of Russin’s
team watched a video of the altercation, which Russin shared with them. The
source said that Mr. Russin thought it was “hilarious.” Would Mr. Russin like to
comment on this?

| appreciate your time and help on this story.

Sincerely,

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